                   Case 24-12480-LSS               Doc 1186        Filed 03/27/25          Page 1 of 3




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 11

    FRANCHISE GROUP, INC., et al., 1                              Case No. 24-12480 (LSS)

                               Debtors.                           (Jointly Administered)



                                              NOTICE OF SERVICE 2

             PLEASE TAKE NOTICE that Akin Gump Strauss Hauer & Feld LLP, special co-counsel

on behalf of and at the sole direction of Michael J. Wartell, in his capacity as Independent Director

and sole member of the Conflicts Committees of the Boards of Directors of Freedom VCM Interco,

Inc. and Freedom VCM, Inc., caused copies of the two reports of the Freedom HoldCo Independent




1
    The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification numbers,
     to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
     Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028),
     Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444),
     American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate
     Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC
     (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC
     (5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408),
     Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home & Appliance Outlet,
     LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise
     Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing LLC (9968),
     Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group
     Intermediate BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor Acquisition, LLC (3490),
     Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC
     (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin
     Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC
     (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP
     Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising, LLC (9398), WNW Stores, LLC (n/a),
     PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242),
     Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722).
     The Debtors’ headquarters is located at 2371 Liberty Way, Virginia Beach, Virginia 23456.
2
    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Sixth Amended
    Joint Chapter 11 Plan of Franchise Group, Inc. and Its Debtor Affiliates [Docket No. 1015].


{02105871;v2 }
                 Case 24-12480-LSS   Doc 1186       Filed 03/27/25    Page 2 of 3




Director issued in connection with the Freedom HoldCo Independent Investigation to be served

upon the following counsel via electronic mail on March 26, 2025:

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{02105871;v2 }                                2
                 Case 24-12480-LSS   Doc 1186    Filed 03/27/25   Page 3 of 3




 Counsel to the Ad Hoc Group of Freedom
 Lenders                                Special Counsel to the Debtors and Debtors in
                                        Possession



Dated: March 27, 2025                    ASHBY & GEDDES, P.A.
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                                         Special Counsel on behalf of and at the sole direction
                                         of Michael J. Wartell as the Independent Director and
                                         sole member of the Conflicts Committee of the Board of
                                         each of the Freedom HoldCo Debtors



{02105871;v2 }                              3
